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Bureau of Prisons
Health Services

Health Problems

 

 

 

Reg #: 17248-018 Inmate Name: IGLESIAS, CRISTIAN NOEL
Description Axis Code Type Code Diag. Date Status Status Date
Current
Transgender, validated male to female
06/10/2019 10:41 EST Pass, Randall MD/CD ICD-10 302.5b 10/15/2015 Current 10/15/2015
on injectable estradiol 10 mg q2week, spironolactone 100 bid, Finasteride -
2019: Estradiol level = 173, Testosterone level = 13
11/11/2018 17:54 EST Pass, Randall MD/CD ICD-10 302.5b 10/15/2015 Current 10/15/2015
on injectable estradiol 10 mg q2week, spironolactone 100 bid, Finasteride - 2018:
Estradiol level = 290, Testosterone level = 17, prolactin level = 20
10/30/2018 10:06 EST Pass, Randall MD/CD ICD-10 302.5b 10/15/2015 Current 10/15/2015
on injectable estradiol 10 mg q2week, spironolactone 100 bid, Finasteride - 2018:
Estradiol level = 200, Testosterone level = 17, prolactin level = 20
06/12/2018 11:46 EST Pass, Randall MD/CD ICD-10 302.5b 10/15/2015 Current 10/15/2015
on injectable estradiol 10 mg q2week, spironolactone 100 bid, Finasteride - 2018:
Estradiol level = 200, Testosterone level = 18, prolactin level = 20
12/14/2017 15:19 EST Pass, Randall MD/CD ICD-10 302.5b 10/15/2015 Current 10/15/2015
on injectable estradiol 10 mg q2week, spironolactone 100 bid, Finasteride - 2017:
Estradiol level = 163, Testosterone level = 16, prolactin level = 14
07/29/2017 19:16 EST Pass, Randall MD/CD ICD-10 302.5b 10/15/2015 Current 10/15/2015
2017: Estradiol level = 391, Testosterone level = 21, prolactin level = 23
06/16/2017 14:58 EST Pass, Randall MD/CD ICD-10 302.5b 10/15/2015 Current 10/15/2015
2017: Estradiol level =208, Testosterone level =12
03/02/2017 15:23 EST Wyche, Brandon PA-C ICD-10 302.5b 10/15/2015 Current 10/15/2015
Testosterone 96.6 2/2/17 Estradiol 249.4 2/2/17. Will draw labs again with
appropriate timing before changing medication doses.
10/17/2016 13:24 EST Sichel, Lawrence MD ICD-10 302.5b 10/15/2015 Current 10/15/2015
Validated from review of BEMR/PDS reports and diagnostic impressions. Testosterone
8 6/7/16. Estradiol 197.9 8/16/16
08/31/2016 15:43 EST Sichel, Lawrence MD ICD-10 302.5b 10/15/2015 Current 10/15/2015
Validated from review of BEMR/PDS reports and diagnostic impressions. Testosterone
8 6/7/15. Estradiol 197.9 8/16/16
06/22/2016 09:34 EST Sichel, Lawrence MD ICD-10 302.5b 10/15/2015 Current 10/15/2015
Validated from review of BEMR/PDS reports and diagnostic impressions. Estradiol
122 Testosterone 8 6/7/15
04/29/2016 10:05 EST Sichel, Lawrence MD ICD-10 302.5b 10/15/2015 Current 10/15/2015
Validated from review of BEMR/PDS reports and diagnostic impressions, updated to
match current preferred coding.
03/09/2016 14:03 EST Morales, Ruben B. MD/CD ICD-10 302.5b 10/15/2015 Current 10/15/2015
Generated 09/25/2019 13:37 by Reynolds, Heidi RHIT Bureau of Prisons - MAR

Page 1 of 8
Case 3:19-cv-00415-NJR Document 31 Filed 10/17/19 Page 12 of 66 Page ID #397

 

 

Reg #: 17248-018 Inmate Name: IGLESIAS, CRISTIAN NOEL
Description Axis Code Type Code Diag. Date Status Status Date
tolerating hormone Tx
Validated from review of BEMR/PDS reports and diagnostic impressions, updated to
match current preferred coding.
10/15/2015 10:55 EST Lewis, Donald DO | ICD-9 302.5b 10/15/2015 Current 10/15/2015
Validated from review of BEMR/PDS reports and diagnostic impressions, updated to
match current preferred coding.
Allergic rhinitis, cause unspecified
03/02/2017 15:23 EST Wyche, Brandon PA-C II ICD-9 477.9 06/25/2013 Current 08/31/2016
Seasonal, Flonase has been ordered
08/31/2016 15:41 EST Sichel, Lawrence MD Ii} ICD-9 477.9 06/25/2013 Current 08/31/2016
Seasonal
03/09/2016 14:03 EST Morales, Ruben B. MD/CD Ill ICD-9 477.9 06/25/2013 Resolved 03/09/2016
06/25/2013 17:04 EST Khan, Rashid M.D. ll ICD-9 477.9 06/25/2013 Current 06/25/2013
Borderline Personality Disorder
04/05/2017 12:30 EST Sheetz, Shane PsyD I] DSM-IV F60.3 03/11/2009 Current 06/21/2016
Generally stable
06/21/2016 09:51 EST Gray, Brian PhD II DSM-IV F60.3 03/11/2009 Current 06/21/2016
05/03/2016 10:20 EST Owens, Thomas MD II DSM-IV F60.3 03/11/2009 Remission 05/03/2016
01/29/2016 13:44 EST Schmitt, Ericka PsyD II DSM-IV F60.3 03/11/2009 Current 01/29/2016
Gender Dysphoria In Adolescents And Adults
04/05/2017 12:30 EST Sheetz, Shane PsyD | DSM-IV F64.1 06/21/2016 Current
Validated Transgender Male to Female, seeking Gender Affirmation Surgery
06/21/2016 09:51 EST Gray, Brian PhD | DSM-IV F64.1 06/21/2016 Current
Astigmatism
03/07/2019 08:36 EST Bugg, K. OD ICD-10 H52209 03/07/2019 Current
Acute bronchitis, unspecified
08/26/2019 08:39 EST Brooks, Leslee PA-C ICD-10 J209 08/26/2019 Current
Androgenic alopecia
03/02/2017 15:23 EST Wyche, Brandon PA-C ICD-10 L649 10/17/2016 Current
triangular Fronto-temporal. finasteride working well.
10/17/2016 13:18 EST Sichel, Lawrence MD ICD-10 L649 10/17/2016 Current
triangular Fronto-temporal
Encounter for exam and observation following alleged adult rape [PREA Exam]
05/02/2017 14:59 EST Crites, Kristi CRNP ICD-10 20441 05/02/2017 Current
Encounter for exam and observation following alleged adult rape [PREA Exam]
04/14/2017 09:54 EST Crites, Kristi CRNP ICD-10 20441 04/14/2017 Current
Generated 09/25/2019 13:37 by Reynolds, Heidi RHIT Bureau of Prisons - MAR Page 2 of 8
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Reg #: 17248-018

Description
Last lipid on8/4/08=chol-232, TG=236,LDL=149

Other and unspecified hyperlipidemia

03/09/2016 14:03 EST Morales, Ruben B. MD/CD
02/28/2012 12:48 EST Jones, Roger MD
Obesity, unspecified
03/09/2016 14:03 EST Morales, Ruben B. MD/CD
BMI = 33.19 Obese
12/11/2012 08:49 EST Newland, R. MD
BMI = 33.19 Obese
Major depressive DO, recurrent epiode
05/03/2016 10:20 EST Owens, Thomas MD
Mood improved back in an open compound.
04/29/2016 10:05 EST Sichel, Lawrence MD
Mood improved back in an open compound.
03/09/2016 14:03 EST Morales, Ruben B. MD/CD
Feeling anxious due to prolonged stay in SHU
will start Prozac at low dose per Psychiatrist
11/20/2014 13:04 EST Starr, Yolanda FNP-BC
will start Prozac at low dose per Psychiatrist
12/03/2013 15:46 EST Longfellow, Thomas D.O. Clinical
Director
07/15/2010 18:46 EST Severn, Daniel DO
Unspecified episodic mood disorder
02/23/2016 07:20 EST SYSTEM
11/10/2010 16:49 EST Severn, D. DO
05/14/2010 18:01 EST Severn, Daniel DO
Borderline personality disorder
02/23/2016 07:20 EST SYSTEM
05/21/2014 18:08 EST Jones, Roger MD/CD
03/11/2009 15:50 EST Severn, Daniel DO
Gender identity disorder
02/23/2016 07:20 EST SYSTEM

Updated in health problems to reflect preferred coding.

10/15/2015 10:55 EST Lewis, Donald DO

Updated in health problems to reflect preferred coding.

05/21/2014 18:08 EST Jones, Roger MD/CD

Other forms of epilepsy and recurrent seizures
Generated 09/25/2019 13:37 by Reynolds, Heidi RHIT

Inmate Name: IGLESIAS, CRISTIAN NOEL

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Bureau of Prisons - MAR

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Page 4 of 8
Case 3:19-cv-00415-NJR Document 31 Filed 10/17/19 Page 140f66 Page ID #399

Bureau of Prisons
Health Services
Clinical Encounter

 

Inmate Name: IGLESIAS, CRISTIAN NOEL Reg #: 17248-018
Date of Birth: 06/10/1974 Sex: M Race: WHITE Facility: CUM
Encounter Date: 03/15/2017 10:16 Provider: Crites, Kristi CRNP Unit: Co1

 

Chronic Care - 14 Day Physician Eval encounter performed at Health Services.
SUBJECTIVE:

COMPLAINT 1 Provider: Crites, Kristi CRNP

Chief Complaint: ENDO/LIPID

Subjective: Inmate is transgender and is currently on estrogen, finasteride, and spironolactone therapy.
Inmate's last estrogen and testosterone levels were elevated. Will redraw. Inmate is
requesting gender reassignment/correction surgery. Inmate saw psychology this morning.

Hx. of hyperlipidemia. Used to be on cholesterol medication, however, his liver enzymes

became elevated and he had abdominal pain on the cholesterol medication. He was taken off

of the medication. No recent lipid panels have been completed. Based on those values, his

ASCVD calculator is 1.9% so he doesn't meet qualifications for lipid lowering medication.
Pain: Not Applicable

 

COMPLAINT 2 Provider: Crites, Kristi CRNP

Chief Complaint: PULMONARY/RESPIRATORY

Subjective: Inmate with what he says is a history of asthma. Just completed PFT's that were normal.
Inmate is aware to report to h/s if any breathing problems occur to be evaluated. No refills on
albuterol. No refills on Flonase at this time.

Pain: Not Applicable

 

Seen for clinic(s): Endocrine/Lipid

 

 

 

OBJECTIVE:
Temperature:
Date Time Fahrenheit Celsius Location Provider
03/15/2017 09:52 CUM 97.3 36.3 Temporal Todd, C. RN
Pulse:
Date Time Rate Per Minute Location Rhythm Provider
03/15/2017 09:52 73 Via Machine Todd, C. RN
Respirations:
03/15/2017 09:52 CUM 16 Todd, C. RN
Blood Pressure:
Date Time Value Location Position Cuff Size Provider
03/15/2017 09:52 CUM 107/65 Right Arm Sitting Adult-regular Todd, C. RN
Wright Peak Flow:
Date Time Attempt1 Attempt2 Attempt 3 Effort Bronchodilator Provider
03/15/2017 09:52 CUM 460 500 500 Good Without Todd, C. RN
$aO2:
Date Time Value(%) Air rovider

Generated 03/15/2017 12:55 by Crites, Kristi CRNP Bureau of Prisons - CUM Page 1 of 4
Case 3:19-cv-00415-NJR Document 31 Filed 10/17/19 Page 15o0f66 Page ID #400

Bureau of Prisons
Health Services
Clinical Encounter

 

Inmate Name: IGLESIAS, CRISTIAN NOEL Reg #: 17248-018
Date of Birth: 06/10/1974 Sex: M Race: WHITE Facility: BUT
Encounter Date: 08/19/2016 12:31 Provider: Avent, Stephanie RN Unit: wot

 

Nursing - Sick Call Note encounter performed at Health Services.

 

 

 

 

SUBJECTIVE:
COMPLAINT 1 Provider: Avent, Stephanie RN
Chief Complaint: Other Problem
Subjective: "| need to have this laser surgery to have this hair removed. The no no is not working."
Pain: No
OBJECTIVE:
Temperature:
Date Time Fahrenheit Celsius Location Provider
08/19/2016 12:32 BUX 98.0 36.7 Oral Avent, Stephanie RN
Pulse:
08/19/2016 12:32 BUX 65 Via Machine Avent, Stephanie RN
Respirations:
Date Time Rate Per Minute Provider
08/19/2016 12:32 BUX 18 Avent, Stephanie RN

Blood Pressure:

08/19/2016 12:32 BUX 123/67 Left Arm Sitting Adult-regular Avent, Stephanie RN
Sa02:
08/19/2016 12:32 BUX 99 Room Air Avent, Stephanie RN
ASSESSMENT:
Other

Inmate alert and oriented x3 respirations even and unlabored, no apparent distress. He reports to sick call this morning
with requests to have laser hair removal surgery and requesting Fluticasone to be refilled.

Provider made aware of inmate's request. Inmate instructed to watch the call out for appointment. He verbalized

understanding and left health services in stable condition. No appointment scheduled due to upcoming appointment on
08/31/16.

PLAN:

Disposition:
Follow-up at Sick Call as Needed

Patient Education Topics:

Date Initiated Format Handout/Topic Provider Outcome

Generated 08/19/2016 12:42 by Avent, Stephanie RN Bureau of Prisons - BUT Page 1 of 2
Case 3:19-cv-00415-NJR Document 31 Filed 10/17/19 Page 16o0f66 Page ID #401

Bureau of Prisons
Health Services
Clinical Encounter

 

Inmate Name: IGLESIAS, CRISTIAN NOEL Reg #: 17248-018
Date of Birth: 06/10/1974 Sex: M Race: WHITE Facility: BUT
Encounter Date: 06/22/2016 09:15 Provider: Sichel, Lawrence MD Unit: wot

 

Physician - Follow up Visit encounter performed at Health Services.
SUBJECTIVE:
COMPLAINT 1 Provider: Sichel, Lawrence MD

Chief Complaint: ENDO/LIPID

Subjective: Does not feel like Estrogen dose is large enough. Does not feel that breasts are enlarging as
much as they did on oral estrogen.
Has requested sexual reassignment surgery, transfer to female institution and laser hair
removal.

Pain: No

 

COMPLAINT 2 Provider: Sichel, Lawrence MD

Chief Complaint: PULMONARY/RESPIRATORY
Subjective: Has persistent mild cough. Slight sputum. Used inhaler this morning. He would like restriction
on dust exposure placed back on MDS form.

 

 

 

Pain: No

OBJECTIVE:
Temperature:

Date Time Fahrenheit Celsius Location Provider

06/22/2016 09:21 BUX 98.0 36.7 Sichel, Lawrence MD
Pulse:

06/22/2016 09:21 BUX 78 Sichel, Lawrence MD
Respirations:

Date Time Rate Per Minute Provider

06/22/2016 09:21 BUX 18 Sichel, Lawrence MD

Blood Pressure:

 

06/22/2016 09:21BUX 117/71 Sichel, Lawrence MD
Wright Peak Flow:

Date Time Attempt 1 Attempt 2 Attempt 3 Effort Bronchodilator Provider

06/22/2016 09:25 BUX 452 502 With Sichel, Lawrence MD
SaQ2:

06/22/2016 09:21 BUX 98 Sichel, Lawrence MD
Weight:

Date Time Lbs Kg Waist Circum. Provider

06/22/2016 09:21 BUX 234.0 106.1 Sichel, Lawrence MD
Exam:

Pulmonary

Generated 06/22/2016 09:51 by Sichel, Lawrence MD Bureau of Prisons - BUT Page 1 of 3
Case 3:19-cv-00415-NJR Document 31 Filed 10/17/19 Page 17 of66 Page ID #402

Bureau of Prisons
Health Services
Clinical Encounter

 

Inmate Name: IGLESIAS, CRISTIAN NOEL Reg #: 17248-018
Date of Birth: 06/10/1974 Sex: M Race: WHITE Facility: BUT
Encounter Date: 08/31/2016 15:33 Provider: Sichel, Lawrence MD Unit: WO1

 

Physician - Follow up Visit encounter performed at Health Services.
SUBJECTIVE:

COMPLAINT 1 Provider: Sichel, Lawrence MD

Chief Complaint: PULMONARY/RESPIRATORY

Subjective: Has noticed post nasal drip, itchy eyes and sneezing over past couple of months. Rhinorrhea
from right nostril. Wheezing more with increased exercise. Had allergy problems in the past in
Florida. Nasal steroid spray effective.

Pain: No

 

COMPLAINT 2 Provider: Sichel, Lawrence MD

Chief Complaint: ENDO/LIPID

Subjective: Notes breast enlargement and change in fat distribution to female pattern. Still seeking sexual
reassignment surgery, transfer to female institution and laser hair removal. Requesting
treatment plan that Central Office had referred to.

 

 

 

 

Pain: No

OBJECTIVE:
Temperature:

Date Time Fahrenheit Celsius Location Provider

08/31/2016 15:39 BUX 97.1 36.2 Sichel, Lawrence MD
Pulse:

08/31/2016 15:39 BUX 64 Sichel, Lawrence MD
Respirations:

Date Time Rate Per Minute Provider

08/31/2016 15:39 BUX 18 Sichel, Lawrence MD
Blood Pressure:

08/31/2016 15:39BUX 111/74 Sichel, Lawrence MD
Sa02:

Date Time Value(%) Air Provider

08/31/2016 15:39 BUX 99 Sichel, Lawrence MD
Weight:

08/31/2016 15:39 BUX 220.0 99.8 Sichel, Lawrence MD
Exam:

Nose

General
Yes: Nares Patent
Mouth

Generated 08/31/2016 16:01 by Sichel, Lawrence MD Bureau of Prisons - BUT Page 1 of 3
Case 3:19-cv-00415-NJR Document 31 Filed 10/17/19 Page 18o0f66 Page ID #403

 

 

Inmate Name: IGLESIAS, CRISTIAN NOEL Reg #: 17248-018
Date of Birth: 06/10/1974 Sex: M Race: WHITE Facility: BUT
Encounter Date: 08/31/2016 15:33 Provider: Sichel, Lawrence MD Unit: wot
Exam:
Pharynx
Yes: Within Normal Limits
ASSESSMENT:

Allergic rhinitis, cause unspecified, 477.9 - Current - Seasonal

Transgender, validated male to female, 302.5b - Current - Validated from review of BEMA/PDS reports and diagnostic
impressions. Testosterone 8 6/7/15. Estradiol 197.9 8/16/16

PLAN:
Renew Medication Orders:
1200960-BUX Fluticasone Prop 50mcg, 16ml Nasal spry 08/31/2016 15:33 place 2 sprays per nostril each

day x 120 day(s)
Indication: Allergic rhinitis, cause unspecified

1169761-BUX = Albuterol Inhaler HFA (6.7 GM) 90mcg 08/31/2016 15:33 Inhale 2 puffs by mouth every six
hours AS NEEDED for shortness

of breath PRN x 180 day(s)
Indication: Extrinsic asthma

1187120-BUX Estradiol Cypionate 5MG/ML INJ 08/31/2016 15:33 Inject 15mg (3mL) Intra-
Muscularly q2w ***pill line*** x

180 day(s) Pill Line Only
Indication: Transgender, validated male to female

1187849-BUX = Spironolactone 50 MG Tab 08/31/2016 15:33 Take two tablets (100 MG) by
mouth twice daily x 180 day(s)

Indication: Transgender, validated male to female

New Laboratory Requests:

Lab Tests-E-Estradiol One Time 01/31/2017 00:00 Routine
Lab Tests - Short List-General-Basic Metabolic
Profile
Lab Tests-T-Testosterone, Total
Schedule:
Activit Scheduled! Scheduled Pravid
Chart_Review 01/24/2017 00:00 Physician 01
Check on timing of lab work with Estradiol injections.
Disposition:

Follow-up in 6 Months

Patient Education Topics:
08/31/2016 Counseling Plan of Care Sichel, Lawrence Verbalizes
Understanding
Plan to continue with Estradiol injections and Spironolactone to suppress Testosterone and help to change to
feminine appearance. Other interventions would require approval at higher levels in organization.

Generated 08/31/2016 16:01 by Sichel, Lawrence MD Bureau of Prisons - BUT Page 2 of 3
Case 3:19-cv-00415-NJR DocumpBiiréaurtfPiisohg Page 19 of 66 Page ID #404
Health Services
Clinical Encounter

 

Inmate Name: IGLESIAS, CRISTIAN NOEL Reg#: 17248-018
Date of Birth: 06/10/1974 Sex: M Race: WHITE Facility: FAI
Encounter Date: 12/10/2015 15:43 Provider: Morales, Ruben B. MD/CD_ Unit: DO03

 

Chronic Care - 14 day evaluation encounter performed at Health Services.
SUBJECTIVE:

COMPLAINT 1 Provider: Morales, Ruben B. MD/CD

Chief Complaint: Chronic Care Clinic

Subjective: This 41 year old white transgender, relatively new here at FCI Fairton, expresses intense
desire to obtain secondary female sex characteristics. She wanted to lose her facial hair,
waist to get smaller and breast to become bigger. Currently on Estrace but claims that the
medication is not giving him the physical changes she wanted to happen. She is asking for
premarin in combination with Estrace. She states that she has been taking Estrogen on and
off since a age 13 and usually combined it with premarin. She states that she feels frustrated
and anxious for not being able to get what she has been asking for. She states that her
ultimate goal is to get a sex change operation and thinks that she could not take that next step
without the physical transformation she wanted to happen.

Asthma: mild, controlled, at treatment goal. No report of wheezing/cough/night symptoms
and condition has not interfered with ADL's
Pain: No

 

Seen for clinic(s): Endocrine/Lipid, Gastrointestinal, Mental Health, Neurology, Pulmonary/Respiratory

Removed from clinic(s): Endocrine/Lipid, Gastrointestinal, Neurology

 

 

 

 

 

OBJECTIVE:
Pulse:
Date Time Rate Per Minute = Location Rhythm — Provider
12/11/2015 10:13 FAI 68 Morales, Ruben B. MD/CD
Respirations:
Date Time Rate Per Minute Provider
12/11/2015 10:13 FAI 18 Morales, Ruben B. MD/CD
Blood Pressure:
Date Time Value Location Position Cuff Size Provider
12/11/2015 10:13 FA] 124/84 Morales, Ruben B. MD/CD
Wright Peak Flow:
Date Time Attempt 1 Attempt 2 Attempt3 Effort Bronchodilator Provider
12/11/2015 10:13 FAI 400 540 540 With Morales, Ruben B.
Sa02:
Date Time Value(%) Air Provider
12/11/2015 10:13 FAI 100 Room Air Morales, Ruben B. MD/CD
Weight:
Date Time Lbs Kg Waist Circum. Provider
12/11/2015 10:13 FAI 242.5 110.0 Morales, Ruben B. MD/CD
Exam:
Pulmonary

Generated 12/11/2015 10:24 by Morales, Ruben B. MD/CD Bureau of Prisons - FAI Page 1 of 3
Case 3:19-cv-00415-NJR Document 31 Filed 10/17/19 Page 20 of 66 Page ID #405

Health Services

Bureau of Prisons

Clinical Encounter

 

Inmate Name: IGLESIAS, CRISTIAN NOEL

Date of Birth: 06/10/1974
Encounter Date: 02/17/2011 12:44

Sex: M Race: WHITE
Provider: Wilson, CA DO

Reg #: 17248-018
Facility: FLM
Unit: F04

 

Chronic Care encounter performed at Health Services.

SUBJECTIVE:
COMPLAINT 1

Provider: Wilson, CA DO

Chief Complaint: PULMONARY/RESPIRATORY

Subjective: CCC visit fro evaluation of asthma,hyperlipidemia, and requesting to be restarted on Estrogen
replacements since he was on them before and thinks his hormones are causing his
symptoms of anxiety. Also he states that he is having forced vomiting spells.

Pain Location:

Pain Scale:

Pain Qualities:
History of Trauma:
Onset:

Duration:
Exacerbating Factors:
Relieving Factors:
Comments:

Seen for clinic(s): Endocrine/Lipid, Pulmonary/Respiratory

ROS:
General

Constitutional Symptoms

No: Fatigue
Integumentary
Skin
No: Rashes
HEENT
Head
No: Headaches
Cardiovascular
General

Yes: Hx of Hyperlipidemia

Pulmonary
Respiratory System
Yes: Hx Asthma
Gl

hx of bulemia nervosa
Musculoskeletal
General

No: Muscular Weakness

Endocrine

concerned that his body is reacting to not being on estrogen therapy

Psychiatric

Generated 02/17/2011 13:29 by Wilson, CA DO

Bureau of Prisons - FLM

ed On

Page 1 of 4
Case 3:19-cv-00415-NJR Document 31 Filed 10/17/19 Page 21 0f 66 Page ID #406

 

 

Inmate Name: IGLESIAS, CRISTIAN NOEL Reg#: 17248-018
Date of Birth: 06/10/1974 Sex: M Race: WHITE Facility: FLM
Encounter Date: 02/17/2011 12:44 Provider: Wilson, CA DO Unit: F04
ROS:

General

Yes: Anxious

bulemia nervosa, hx of wanting to have trans sexual surgery

 

OBJECTIVE:
Temperature:
Date Time Fahrenheit Celsius Location Provider
02/17/2011 10:00 FLX 96.7 35.9 Oral Wilson, CA DO
Pulse:
Date Time Rate Per Minute Location Rhythm Provider
02/17/2011 10:00 FLX 79 Radial Regular Wilson, CA DO

Respirations:

 

 

 

Date Time Rate Per Minute Provider
02/17/2011 10:00 FLX 12 Wilson, CA DO
Blood Pressure:
Date Time Value Location Position Cuff Size Provider
02/17/2011 10:00 FLX 112/74 Left Arm Sitting Adult-regular Wilson, CA DO
Wright Peak Flow:
Date Time Attempt1 Attempt2 Attempt3 Effort Bronchodilator Provider
02/17/2011 10:00 FLX 350 420 370 Without Wilson, CA DO
SaO2:
Date Time Value(%) Air Provider
02/17/2011 10:00 FLX 96 Wilson, CA DO
Weight: ”
Date Time Lbs Kg Waist Circum. Provider ne
02/17/2011 10:00 FLX 223.0 101.2 Wilson, CA DO APD OA anit
Exam:
Skin
General
No: Dry
Head
General
Yes: Symmetry of Motor Function, Atraumatic/Normocephalic
Eyes
General
Yes: PERRLA, Extraocular Movements Intact
Neck

General
Yes: Supple, Symmetric, Trachea Midline

Generated 02/17/2011 13:29 by Wilson, CA DO Bureau of Prisons - FLM Page 2 of 4
Case 3:19-cv-00415-NJR Document 31 Filed 10/17/19 Page 22 of 66 Page ID #407

Bureau of Prisons
Health Services
Clinical Encounter

 

Inmate Name: IGLESIAS, CRISTIAN NOEL Reg#: 17248-018
Date of Birth: 06/10/1974 Sex: M Race: WHITE Facility: BUT
Encounter Date: 08/31/2016 15:33 Provider: Sichel, Lawrence MD Unit: wo1

 

Physician - Follow up Visit encounter performed at Health Services.
SUBJECTIVE:
COMPLAINT 1 Provider: Sichel, Lawrence MD

Chief Complaint: PULMONARY/RESPIRATORY

Subjective: Has noticed post nasal drip, itchy eyes and sneezing over past couple of months. Rhinorrhea
from right nostril. Wheezing more with increased exercise. Had allergy problems in the past in
Florida. Nasal steroid spray effective.

Pain: No

 

COMPLAINT 2 Provider: Sichel, Lawrence MD

Chief Complaint: ENDO/LIPID

Subjective: Notes breast enlargement and change in fat distribution to female pattern. Still seeking sexual
reassignment surgery, transfer to female institution and laser hair removal. Requesting
treatment plan that Central Office had referred to.

 

 

 

Pain: No

OBJECTIVE:
Temperature:

Date Time Fahrenheit Celsius Location Provider

08/31/2016 15:39 BUX 97.1 36.2 Sichel, Lawrence MD
Pulse:

Date Time Rate Per Minute Location Rhythm Provider

08/31/2016 15:39 BUX 64 Sichel, Lawrence MD
Respirations:

Date ime Rate Per Minute Provider

08/31/2016 15:39 BUX 18 Sichel, Lawrence MD
Blood Pressure:

Date Time Value Location Position Cuff Size Provider

08/31/2016 15:39 BUX 111/74 Sichel, Lawrence MD
$aQ2: .

Date Time Value(%) Air Provider

08/31/2016 15:39 BUX 99 Sichel, Lawrence MD
Weight:

Date Time Lbs Kg Waist Circum. Provider

08/31/2016 15:39 BUX 220.0 99.8 Sichel, Lawrence MD
Exam:

Nose

General

Yes: Nares Patent
Mouth
Generated 08/31/2016 16:01 by Sichel, Lawrence MD Bureau of Prisons - BUT Page 1 of 3
Case 3:19-cv-00415-NJR Document 31 Filed 10/17/19 Page 23 of 66 Page ID #408

Bureau of Prisons
Health Services
Clinical Encounter

 

Inmate Name: IGLESIAS, CRISTIAN NOEL Reg#: 17248-018
Date of Birth: 06/10/1974 Sex: M Race: WHITE Facility: MAR
Encounter Date: 09/23/2019 07:25 Provider: Brooks, Leslee PA-C Unit: X02

 

Mid Level Provider - Triage Note encounter performed at Health Services.
SUBJECTIVE:
COMPLAINT 1 Provider: Brooks, Leslee PA-C

Chief Complaint: Other Problem
Subjective: Requesting gender affirmation surgery and laser hair removal for transitioning.
Pain: No

 

OBJECTIVE:

Exam:
General
Appearance
Yes: Appears Well, Alert and Oriented x 3
No: Appears Distressed

ASSESSMENT:

Transgender, validated male to female, 302.5b - Current

PLAN:

Disposition:
Follow-up at Sick Call as Needed

Other:
Her case is being reviewed by the TEC committee.

Patient Education Topics:

 

Date Initiated Format Handout/Topic Provider Outcome

09/23/2019 Counseling Access to Care Brooks, Leslee Verbalizes
Understanding

09/23/2019 Counseling Plan of Care Brooks, Leslee Verbalizes

Understanding
Copay Required: No Cosign Required: No

Telephone/Verbal Order: No
Completed by Brooks, Leslee PA-C on 09/23/2019 09:06

Generated 09/23/2019 09:06 by Brooks, Leslee PA-C Bureau of Prisons - MAR Page 1 of 1
Case 3:19-cv-00415-NJR Document 31 Filed 10/17/19 Page 24 0f66 Page ID #409

Bureau of Prisons
Health Services
Clinical Encounter

 

Inmate Name: IGLESIAS, CRISTIAN NOEL Reg #: 17248-018
Date of Birth: 06/10/1974 Sex: M Race: WHITE Facility: BUT
Encounter Date: 09/23/2016 07:33 Provider: Johnson, M. RN Unit: Wwo1

 

Nursing - Sick Call Note encounter performed at Health Services.
SUBJECTIVE:
COMPLAINT 1 Provider: Johnson, M. RN

Chief Complaint: Other Problem
Subjective: | am requesting laser hair removal.

Pain: Not Applicable

 

OBJECTIVE:

ASSESSMENT:

Other
Inmate reports to medical requesting laser hair removal. Please review.

PLAN:

Disposition:
Follow-up at Sick Call as Needed

Patient Education Topics:

09/23/2016 Counseling Access to Care Johnson, M. Verbalizes
Understanding
Copay Required: No Cosign Required: Yes

Telephone/Verbal Order: No

Completed by Johnson, M. RN on 09/23/2016 07:35
Requested to be cosigned by Sielicki, Stanislaw MLP.
Cosign documentation will be displayed on the following page.

Generated 09/23/2016 07:36 by Johnson, M. RN Bureau of Prisons - BUT Page 1 of 1
Case 3:19-cv-00415-NJR Document 31 Filed 10/17/19 Page 25 of 66 Page ID #410

Bureau of Prisons
Health Services
Clinical Encounter

 

Inmate Name: IGLESIAS, CRISTIAN NOEL Reg #: 17248-018
Date of Birth: 06/10/1974 Sex: M Race: WHITE Facility: BUT
Encounter Date: 08/09/2016 07:29 Provider: Carter, Chad RN Unit: wot

 

Nursing - Sick Call Note encounter performed at Health Services.
SUBJECTIVE:
COMPLAINT 1 Provider: Carter, Chad RN

Chief Complaint: Other Problem
Subjective: | want gender reassignment surgery.
Pain: No

 

OBJECTIVE:

ASSESSMENT:

Other
Requests gender reassignment surgery.

PLAN:

Schedule:
Activity Date Scheduled Scheduled Provider
Sick Call/Triage 08/09/2016 12:00 Physician 01
Requests gender reassignment surgery.
Disposition:
Will Be Placed on Callout

Patient Education Topics:

 

Date Initiated Format Handout/Topic Provider
08/09/2016 Counseling Access to Care Carter, Chad
Copay Required: No Cosign Required: No

Telephone/Verbal Order: No

Completed by Carter, Chad RN on 08/09/2016 07:33
Requested to be reviewed by Sichel, Lawrence MD.
Review documentation will be displayed on the following page.

Generated 08/09/2016 07:33 by Carter, Chad RN Bureau of Prisons - BUT

Outcome
Verbalizes
Understanding

Page 1 of 1
Case 3:19-cv-00415-NJR Document 31 Filed 10/17/19 Page 26 of 66 Page ID #411

Bureau of Prisons
Health Services
Clinical Encounter

 

Inmate Name: IGLESIAS, CRISTIAN NOEL Reg#: 17248-018
Date of Birth: 06/10/1974 Sex: M Race: WHITE Facility: MAR
Encounter Date: 06/12/2018 09:45 Provider: Pass, Randall MD/CD Unit: X02

 

Chronic Care - Chronic Care Clinic encounter performed at Health Services.
SUBJECTIVE:

COMPLAINT 1 Provider: Pass, Randall MD/CD

Chief Complaint: Chronic Care Clinic

Subjective: 44 year old transgender inmate here for CCC appointment regarding health issues as follows:
1) TRANSGENDER ~ gets estradiol injection every 2 weeks, and takes self-carry
finasteride and spironolactone ~ hormone levels are in desired range (see below)
2) She is upset that she is being denied more aggressive treatment ~ laser hair
removal, surgery, etc. ~ she is working with Psychology and denies being suicidal at this time
3) Also takes aspirin due to elevated cardiovascular risk profile
Care Level 2, no medical restrictions
Immunizations ~ UTD with flu, pneumonia, and tetanus shots
Releases in 2023

Pain: No

 

Seen for clinic(s): Endocrine/Lipid, General
Added to clinic(s): General

 

 

 

 

ROS:

General

Constitutional Symptoms
Yes: Weight Gain

OBJECTIVE:
Temperature:

Date lime Fahrenheit Celsius Location Provider

06/12/2018 10:19 MAR 97.0 36.1 Pass, Randall MD/CD
Pulse:

Date Time Rate Per Minute Location Rhythm Provider

06/12/2018 10:19 67 Pass, Randall MD/CD
Respirations:

Date Time Rate Per Minute Provider

06/12/2018 10:19 MAR 14 Pass, Randall MD/CD
Blood Pressure:

06/12/2018 10:19MAR 121/71 Pass, Randall MD/CD
$aO2:

Date Time Value(%) Air Provider

06/12/2018 10:19 MAR 98 Pass, Randall MD/CD
Weight:

Date Time Lbs Kq Waist Circum, Provider

06/12/2018 10:19 MAR 264.0 119.8 Pass, Randall MD/CD
Exam:

Generated 06/12/2018 11:26 by Pass, Randall MD/CD Bureau of Prisons - MAR Page 1 of 4
Case 3:19-cv-00415-NJR Document 31 Filed 10/17/19 Page 27 of 66 Page ID #412

 

 

Inmate Name: IGLESIAS, CRISTIAN NOEL . Reg #: 17248-018
Date of Birth: 06/10/1974 Sex: M Race: WHITE Facility: MAR
Encounter Date: 06/12/2018 09:45 Provider: Pass, Randall MD/CD Unit: x02
PLAN:
Renew Medication Orders:
Rx# Medication Order Date Prescriber Order
133432-MAR Aspirin 81 MG EC Tab 06/12/2018 09:45 Take one tablet by mouth each
. day with food x 365 day(s)
Indication: Hyperlipidemia, mixed, Obesity, unspecified
136042-MAR Estradiol Cypionate 5MG/ML Inj (Depo) 5ML_ = 06/12/2018 09:45 Inject 2 mL (10 mg) Intra-
Muscularly every 2 weeks on
Fridays x 90 day(s) Pill Line Only
-- Next injection due Friday June
22nd
Indication: Transgender, validated male to female, Gender Dysphoria In Adolescents And Adults
133434-MAR Spironolactone 25 MG Tab 06/12/2018 09:45 Take four tablets (100 MG) by
mouth twice daily x 365 day(s)
Indication: Transgender, validated male to female
133433-MAR Finasteride 5 MG TAB 06/12/2018 09:45 Take one tablet (6 MG) by mouth

each morning “**non-formulary
approved*** until 10/17/17 x 180
day(s)

Indication: Transgender, validated male to female, Androgenic alopecia

New Laboratory Requests:

Details Frequency Due Date Priority
Lab Tests-E-Estradiol One Time 10/30/2018 00:00 Routine

Lab Tests - Short List-General-CBC wi/diff

Lab Tests - Short List-General-Lipid Profile

Lab Tests - Short List-General-TSH

Lab Tests-T-Testosterone, Total

Lab Tests - Short List-General-Hemoglobin A1C
Lab Tests - Short List-General-Comprehensive

Metabolic Profile (CMP)
Labs requested to be reviewed by: Meyer, Caleb APRN-CNP

Disposition:

Follow-up at Sick Call as Needed
Follow-up at Chronic Care Clinic as Needed
Discharged to Housing Unit-No Restrictions

Other:

Generated 06/12/2018 11:26 by Pass, Randall MD/CD Bureau of Prisons - MAR

Inmate allergies reviewed and needed updates were applied during this visit -- see Chart:Allergies for current inmate
allergy list.

TRANSGENDER -
*overall she is happy with the current hormone prescriptions and the labs are right where we want them as well

*all meds will be renewed at current doses
*she is frustrated that her requests for laser hair removal and for sexual reassignment surgery are in limbo
*we discussed that at this point those procedures are not something we can initiate locally, and we, like her, are

waiting for more guidance from the central office
*a separate Admin Note will be placed on record, with the details of the transgender treatment, that she can use for

her petition to change her gender markings

MENTAL HEALTH -- denies any suicidal thoughts or other acute concerns -- working closely with Psychology
Page 3 of 4
Case 3:19-cv-00415-NJR Document 31 Filed 10/17/19 Page 28 of 66 Page ID #413

Bureau of Prisons
Health Services
Clinical Encounter

 

Inmate'Name: IGLESIAS, CRISTIAN NOEL Reg #: 17248-018
Date of Birth: 06/10/1974 Sex: M Race: WHITE Facility: MAR
Encounter Date: 12/11/2017 10:04 Provider: Meyer, Caleb APRN-CNP Unit: X02

 

Chronic Care - Advanced Practice Provider Follow Up encounter performed at Health Services.
SUBJECTIVE:
COMPLAINT 1 Provider: Meyer, Caleb APRN-CNP

Chief Complaint: Chronic Care Clinic

Subjective: 43 year old here for MLP CCC F/U regarding:
1) TRANSGENDER ~ takes spironolactone and estradiol. Testosterone down to 16.2,
prolactin down to 14, estradiol result pending. States she is happy with results of hormones
and denies any complaints or concerns. States he really would like to have gender
reassignment surgery.
2) MALE PATTERN BALDNESS: Reports receding hair line has actually greatly improved.
3) Also is prescribed aspirin due to elevated cardiovascular risk factor

Care Level 2, no medical restrictions
Had normal mammogram earlier this year, 2017 negative FOBT
UTD with hepatitis A, hepatitis B, Pneumovax, Tdap, and MMR shots, will offer flu vaccine
Releases in 2023
Pain: No

 

Seen for clinic(s): Endocrine/Lipid

ROS:
General
Constitutional Symptoms
No: Chills, Easily Tired
Integumentary
Hair
No: Abnormal Growth, Excessive Hair Loss
Skin
Yes: Within Normal Limits
Cardiovascular
General
No: Angina, Cyanosis, Edema, Exertional dyspnea
Pulmonary
Respiratory System
No: Cough - Dry, DOE, Dyspnea
Gl
General
No: Abdominal Pain or Colic, Blood in Stools, Constipation, Diarrhea
GU
General
Yes: Within Normal Limits
Musculoskeletal
General
Yes: Within Normal Limits

Generated 12/11/2017 10:40 by Meyer, Caleb APRN-CNP Bureau of Prisons - MAR Page 1 of 5
Case 3:19-cv-00415-NJR Document 31 Filed 10/17/19 Page 29 0f 66 Page ID #414

Bureau of Prisons
Health Services
Clinical Encounter

 

Inmate Name: IGLESIAS, CRISTIAN NOEL Reg #: 17248-018
Date of Birth: 06/10/1974 Sex: M Race: WHITE Facility: MAR
Encounter Date: 06/10/2019 09:10 Provider: Pass, Randall MD/CD Unit: X02

 

Chronic Care - Chronic Care Clinic encounter performed at Health Services.
SUBJECTIVE:
COMPLAINT 1 Provider: Pass, Randall MD/CD

Chief Complaint: Chronic Care Clinic
Subjective: 44 year old here for CCC appointment regarding:

1) TRANSGENDER ~ on injectable estradiol, plus oral finasteride and spironolactone ~
recent hormone levels with estradiol 173 and testosterone 13

2) Also on daily aspirin to reduce CV risk

3) Obesity ~ weight has really increased over the last 2 years

4) Follows regularly with Psychology, has a lot of angst related to her inability to obtain

the gender affirming surgery that she wishes

Care Level 2, no medical restrictions, works in Unicor
Optometry ~ seen in March
Immunizations ~ UTD with hepatitis, influenza, tetanus, and pneumonia vaccines
Releases in 2023
Pain: Not Applicable

 

Seen for clinic(s): Endocrine/Lipid, General

 

 

 

ROS:
General
Constitutional Symptoms
No: Unexplained Weight Loss, Weight Gain
Psychiatric
General
Yes: Mood-Down
No: Suicide/Self-Harm Thoughts, Homicide/Other Harm Thoughts
OBJECTIVE:
Temperature:
Date Time Fahrenheit Celsius Location Provider
06/10/2019 09:24 MAR 97.2 36.2 Pass, Randall MD/CD
Pulse:
Date Time Rate Per Minute Location Rhythm Provider
06/10/2019 09:24 66 Pass, Randall MD/CD
Respirations:
Date Time Rate Per Minute Provider
06/10/2019 09:24 MAR 14 Pass, Randall MD/CD
Blood Pressure:
Date Time Value Location Position Cuff Size Provider
06/10/2019 09:24 MAR 109/63 Pass, Randall MD/CD
SaO2:
Date Time Value(%) Air Provider

Generated 06/10/2019 09:49 by Pass, Randall MD/CD Bureau of Prisons - MAR Page 1 of 4
Case 3:19-cv-00415-NJR Document 31 Filed 10/17/19 Page 30 of 66 Page ID #415

 

Inmate Name: IGLESIAS, CRISTIAN NOEL

 

 

 

Date of Birth: 06/10/1974 Sex: M Race: Facility: MAR
Encounter Date: 06/10/2019 09:10 Provider: Pass, Randall MD/CD
Date Time Value(%) Air Provider
06/10/2019 09:24 MAR 98 Pass, Randall MD/CD
Weight:
Date Time Lbs Kg Waist Circum. Provider
06/10/2019 09:24 MAR 264.0 119.8 Pass, Randall MD/CD
Exam:
Diagnostics
Laboratory
Yes: Results
General
Affect

Yes: Pleasant, Cooperative

Appearance
Yes: Appears Well, Alert and Oriented x 3

Nutrition
Yes: BMI reviewed (enter in comments), Appears Obese
Pulmonary
Auscultation
Yes: Clear to Auscultation
Cardiovascular
Auscultation
Yes: Regular Rate and Rhythm (RRR), Normal $1 and S2
No: M/R/G
Peripheral Vascular
General
No: Non-Pitting Edema, Pitting Edema
Musculoskeletal
Gait
Yes: Normal Gait
Mental Health
Mood
Yes: Appropriate

ROS Comments

Working with Psychology to help with the gender dysphoria and her strong desire to have her male genitals removed

Other concerns:
-eyeglasses have not arrived
-wants to make sure mammogram is ordered -- she is concerned due to +FH of breast cancer -- reports she does daily
self-breast exams and denies any areas of concern
-woke up this morning with "crick" in left upper back/neck
Exam Comments
BMI = 36
Has baseline CXR, EKG, and HIV testing on chart
Had mammogram last October
Recent labs:

-testosterone level 13

Generated 06/10/2019 09:49 by Pass, Randall MD/CD Bureau of Prisons - MAR Page 2 of 4
Case 3:19-cv-00415-NJR Document 31 Filed 10/17/19 Page 31 o0f66 Page ID #416

 

Inmate Name: IGLESIAS, CRISTIAN NOEL Reg #: 17248-018
Date of Birth: 06/10/1974 Sex: M Race: WHITE Facility: MAR
Encounter Date: 06/10/2019 09:10 Provider: Pass, Randall MD/CD Unit: X02

 

*gender dysphoria --discussed this quite a bit today -- she declines offer for antidepressant medication -- says that the
sessions with Psychology are helpful but that she really needs the gender affirming surgery -- she understands that
there has been no further direction from our central office regarding how/when/where this surgery will be done

Continues on daily aspirin for prevention of CV event and blood clot, at higher risk due to estrogen use

Obesity remains unchanged -- screening regularly for diabetes, dyslipidemia, etc.
Reassured her that glasses have been ordered and we will continue to track this

The "crick" in the neck seems to be a self-limited problem

Patient Education Topics:

Date Initiated Format Handout/Topic Provider

06/10/2019 Counseling Plan of Care Pass, Randall

06/10/2019 Counseling Test/X-ray Results . Pass, Randall
Copay Required: No Cosign Required: No

Telephone/Verbal Order: No
Completed by Pass, Randall MD/CD on 06/10/2019 09:49

Generated 06/10/2019 09:49 by Pass, Randall MD/CD Bureau of Prisons - MAR

Outcome

Verbalizes
Understanding

Verbalizes
Understanding

Page 4 of 4
Case 3:19-cv-00415-NJR Document 31 Filed 10/17/19 Page 32 of 66 Page ID #417

Bureau of Prisons
Health Services
Clinical Encounter

 

Inmate Name: IGLESIAS, CRISTIAN NOEL Reg #: 17248-018
Date of Birth: 06/10/1974 Sex: M Race: WHITE Facility: MAR
Encounter Date: 12/07/2018 13:05 Provider: Richardson, J. FNP-C Unit: X02

 

Chronic Care - Advanced Practice Provider Follow Up encounter performed at Health Services.
SUBJECTIVE:
COMPLAINT 1 Provider: Richardson, J. FNP-C

Chief Complaint: Chronic Care Clinic
Subjective: 44 year old transgender inmate here for CCC appointment:

1) TRANSGENDER ~ gets estradiol injection every 2 weeks, and takes self-carry
finasteride and spironolactone ~ hormone levels are in desired range (see below)

2) She is continuing to work through the court system for more aggressive treatment ~ laser
hair

removal, surgery, etc. is currently quite happy with the medication regimen and hormone
therapy she is receiving here~ she is working with Psychology and denies being suicidal at
this time

3) Also takes aspirin due to elevated cardiovascular risk profile

Care Level 2, no medical restrictions
Immunizations ~ UTD with flu, pneumonia, and tetanus shots

Pain: No

Seen for clinic(s): Endocrine/Lipid, General

 

 

 

OBJECTIVE:
Temperature:
Date Time Fahrenheit Celsius Location Provider
12/07/2018 13:05 MAR 98.1 36.7 Richardson, J. FNP-C
Pulse:
Date Time Rate Per Minute Location Rhythm Provider
12/07/2018 13:05 74 Richardson, J. FNP-C
Respirations:
Date Time Rate Per Minute Provider
12/07/2018 13:05 MAR 16 Richardson, J. FNP-C
Blood Pressure:
Date Time Value Location Position Cuff Size , Provider
12/07/2018 13:05MAR 131/76 Richardson, J. FNP-C
SaO2:
Date Time Value(%) Air Provider
12/07/2018 13:05 MAR 100 Richardson, J. FNP-C
Weight:
Date Time Lbs Kg Waist Circum. Provider
12/07/2018 13:05 MAR 261.0 118.4 Richardson, J. FNP-C
Exam:

Generated 12/07/2018 13:45 by Richardson, J. FNP-C Bureau of Prisons - MAR Page 1 of 4
Case 3:19-cv-00415-NJR Document 31 Filed 10/17/19 Page 33 of 66 Page ID #418

 

Inmate Name: IGLESIAS, CRISTIAN NOEL Reg #: 17248-018
Date of Birth: 06/10/1974 Sex: M Race: WHITE Facility: MAR
Encounter Date: 12/07/2018 13:05 Provider: Richardson, J. FNP-C Unit: x02

 

Return To Sick Call if Not Improved

Other:

Inmate allergies reviewed and needed updates were applied during this visit -- see Chart: Allergies for current inmate
allergy list.

TRANSGENDER -

‘overall she is happy with the current hormone prescriptions and the labs are within treatment goals as well

“all meds will be renewed at current doses

“she is still frustrated that her requests for laser hair removal and for sexual reassignment surgery are in limbo

“we discussed that at this point those procedures are not something we can initiate locally, and she understands this
and she is actively working to advocate for change at the national level

MENTAL HEALTH -- denies any suicidal thoughts or other acute concerns -- sees Psychology monthly

WEIGHT GAIN -- weight has remained steady since last CCC with MD. she has started working on increasing
physical activity but still admits to over eating and making poor food choices. Diet changes discussed today.
“cholesterol is high, but not to the point that a statin is indicated -- Framingham risk score at 1%

“does take aspirin daily for cardiac protective purposes

Patient Education Topics:

Date Initiated Format Handout/Topic Provider Outcome
12/07/2018 Counseling Access to Care Richardson, J. Verbalizes
Understanding
12/07/2018 Counseling Diet Richardson, J. Verbalizes
Understanding
12/07/2018 Counseling Plan of Care Richardson, J. Verbalizes

Understanding

Copay Required: No Cosign Required: Yes
Telephone/Verbal Order: No

Completed by Richardson, J. FNP-C on 12/07/2018 13:45
Requested to be cosigned by Pass, Randall MD/CD.
Cosign documentation will be displayed on the following page.

Generated 12/07/2018 13:45 by Richardson, J. FNP-C Bureau of Prisons - MAR Page 4 of 4
Case 3:19-cv-00415-NJR Document 31 Filed 10/17/19 Page 34 of 66 Page ID #419

Bureau of Prisons
Health Services
Clinical Encounter - Administrative Note

 

Inmate Name: IGLESIAS, CRISTIAN NOEL Reg #: 17248-018
Date of Birth: = 06/10/1974 Sex: M Race: WHITE Facility: MAR
Note Date: 09/01/2017 07:25 Provider: Brooks, Leslee PA-C Unit: X02

 

Admin Note - Scheduling Note encounter performed at Health Services.
Administrative Notes:

ADMINISTRATIVE NOTE 1 Provider: Brooks, Leslee PA-C
Sick call request to officially request gender reassignment surgery.

Schedule:
Activity Date Scheduled Scheduled Provider
Sick Call/Triage 09/01/2017 00:00 MLP 02

Sick call request to officially request gender reassignment surgery.
Copay Required:No Cosign Required: No
Telephone/Verbal Order: No

Completed by Brooks, Leslee PA-C on 09/01/2017 07:26

Generated 09/01/2017 07:26 by Brooks, Leslee PA-C Bureau of Prisons - MAR Page 1 of 1
Case 3:19-cv-00415-NJR Document 31 Filed 10/17/19 Page 35 of 66 Page ID #420

Bureau of Prisons
Health Services
Clinical Encounter - Administrative Note

 

Inmate Name: IGLESIAS, CRISTIAN NOEL Reg #: 17248-018
Date of Birth: = 06/10/1974 Sex: M Race: WHITE Facility: MAR
Note Date: 09/01/2017 10:15 Provider: Brooks, Leslee PA-C Unit: X02

 

Admin Note - General Administrative Note encounter performed at Health Services.
Administrative Notes:

ADMINISTRATIVE NOTE 1 Provider: Brooks, Leslee PA-C

There is no guidance in the CPG related to gender assignment surgery at this time. We are awaiting an
updated CPG, Until then, there is no basis to proceed. This will be addressed further at each CCC.

Copay Required: No Cosign Required: No
Telephone/Verbal Order: No

Completed by Brooks, Leslee PA-C on 09/01/2017 10:16

Generated 09/01/2017 10:16 by Brooks, Leslee PA-C Bureau of Prisons - MAR Page 1 of 1
Case 3:19-cv-00415-NJR Document 31 Filed 10/17/19 Page 36 of 66 Page ID #421

Bureau of Prisons
Health Services
Clinical Encounter - Administrative Note

 

Inmate Name: IGLESIAS, CRISTIAN NOEL Reg #:
Date of Birth: 06/10/1974 Sex: M Race: WHITE Facility:
Note Date: 12/04/2017 07:46 Provider: May, Samantha RN Unit:

17248-018

MAR
x02

 

Admin Note - Scheduling Note encounter performed at Health Services.
Administrative Notes:

ADMINISTRATIVE NOTE 1 Provider: May, Samantha RN

Inmate here for sick call. Requesting gender reassignment surgery and laser hair removal to face.

Schedule:
Activity Date Scheduled Scheduled Provider
Sick Call/Triage 12/04/2017 00:00 MLP 02

Inmate here for sick call. Requesting gender reassignment surgery and laser hair removal to face.

Copay Required: No Cosign Required: No
Telephone/Verbal Order: No

Completed by May, Samantha RN on 12/04/2017 07:48

Generated 12/04/2017 07:48 by May, Samantha RN Bureau of Prisons - MAR

Page 1 of 1
 

Case 3:19-cv-00415-NJR Document 31 Filed 10/17/19 Page 37 of 66 Page ID #422
Bureau of Prisons
Health Services
Clinical Encounter - Administrative Note
Inmate Name: IGLESIAS, CRISTIAN NOEL Reg #: 17248-018
Date of Birth: = 06/10/1974 Sex: M  Race:WHITE Facility; © MAR
Note Date: 09/26/2017 08:05 Provider: Meyer, Caleb APRN- Unit: X02

 

Admin Note - Chart Review encounter performed at Health Services.
Administrative Notes:

ADMINISTRATIVE NOTE 1 Provider: Meyer, Caleb APRN-CNP

Patient presents to sick call requesting gender reassignment surgery. Will discuss with Dr. Pass and MDS
committee. Patient agrees to send copout and | will let her know the status of requests for this surgery.

Patient is agreeable to this plan.

Copay Required: No Cosign Required: No
Telephone/Verbal Order: No

Completed by Meyer, Caleb APRN-CNP on 09/26/2017 08:07

Generated 09/26/2017 08:07 by Meyer, Caleb APRN- Bureau of Prisons - MAR

Page 1 of 1
Case 3:19-cv-00415-NJR Document 31 Filed 10/17/19 Page 38 of 66 Page ID #423

Bureau of Prisons
Health Services
Clinical Encounter

 

Inmate Name: IGLESIAS, CRISTIAN NOEL Reg#: 17248-018
Date of Birth: 06/10/1974 Sex: M Race: WHITE Facility: MAR
Encounter Date: 12/06/2017 13:07 Provider: Meyer, Caleb APRN-CNP — Unit: x02

 

Mid Level Provider - Follow up Visit encounter performed at Health Services.
SUBJECTIVE:

COMPLAINT 1 Provider: Meyer, Caleb APRN-CNP

Chief Complaint: Other Problem

Subjective: Patient requests gender re-assignment surgery and laser hair removal. | advised patient that
the BOP does not currently have a policy for providing these procedures.
Pain: No

 

OBJECTIVE:
ASSESSMENT:

Transgender, validated male to female, 302.5b - Current

PLAN:

Disposition:
Follow-up at Sick Call as Needed
Follow-up at Chronic Care Clinic as Needed
Return Immediately if Condition Worsens
Return To Sick Call if Not Improved

Patient Education Topics:

 

Date Initiated Format Handout/Topic Provider Outcome
12/06/2017 Counseling Access to Care Meyer, Caleb Verbalizes

Understanding

Copay Required: No Cosign Required: No
Telephone/Verbal Order: No

Completed by Meyer, Caleb APRN-CNP on 12/06/2017 13:12

Generated 12/06/2017 13:12 by Meyer, Caleb APRN-CNP Bureau of Prisons - MAR Page 1 of 1
Case 3:19-cv-00415-NJR Document 31 Filed 10/17/19 Page 40 of 66 Page ID #425

 

Individualized Reentry Plan - Program Review (File copy) SEQUENCE: 00575002
Dept. of Justice / Federal Bureau of Prisons Team Date: 05-09-2019
Plan is for inmate: IGLESIAS, CRISTIAN NOEL 17248-018
Facility: MAR MARION USP
Name: IGLESIAS, CRISTIAN NOEL
Register No.: 17248-018

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Age: 44 DNA Status: FLM02226 / 02-04-2011
Date of Birth: 06-10-1974 CIMS Status: YES
Proj. Rel. Date: 04-26-2023 CIMS Reconciled: YES
Proj. Rel. Method: GCT REL
Inmate is subject to 18 U.S.C. 4042(B) Notification: Yes
CURRENT CONVICTION FOR A CRIME OF VIOLENCE
Inmate is subject to 18 U.S.C. 4042(C) Notification and Registration: N/A
Offense Sentences
[Charge Terms In Effect |
18:2332A(B) THREATENED USE OF A WEAPON OF MASS 240 MONTHS
DESTRUCTION
Detainers
[Detaining Agency Remarks |
NO DETAINER
Current CMA Assignments
|Assignment Description Start
BIR CERT N BIRTH CERTIFICATE - NO 05-24-2018
COMPUTR OK USE OF INMATE ACCESS PC O.K. 11-06-1996
DEPEND N DEPENDENTS UNDER 21 - NO 05-24-2018
PHOTO ID N PHOTO ID - NO 05-24-2018
PSY ALERT PSYCHOLOGY ALERT 06-29-2015
RPP PART RELEASE PREP PGM PARTICIPATES 03-30-2017
SSN CARD N SOCIAL SECURITY CARD - NO 05-24-2018
TRN M2F SELF REPORT TRANSGENDER M TO F 02-02-2017
VET P/S N PARENT/SPOUSE VETERAN - NO 05-24-2018
VETERAN N VETERAN - NO 05-24-2018
v94 CVA913 V94 CURR VIOL ON/AFTER 91394 06-30-2000
WA NO HIST NO WALSH ACT OFFENSE HISTORY 03-23-2007
Current Work Assignments
|Facl Assignment Description Start |
MAR CBL ADMIN INDUSTRIES ADMINISTRATION OFC 12-29-2018
Current Education Information
|Facl Assignment Description Start
MAR ESL HAS ENGLISH PROFICIENT 11-14-1996
MAR GED HAS COMPLETED GED OR HS DIPLOMA 07-07-2000
Education Courses
[SubFacl Action Description Start Stop
MAR ASQ QUALITY ASSURANCE 03-05-2019 CURRENT
MARGP = C BUSINESS START-UP ACE CLASS 02-06-2019 05-07-2019
MARGP  C ACE VIDEO NATURAL WONDERS 02-04-2019 05-07-2019
MARGP  C UNICOR OSHA 10 - 24 WEEKS 01-31-2019 03-13-2019
MARGP  C NUTRITION 11-07-2017 01-05-2018
MARGP  C CDL MANUAL STUDY ACE CLASS 07-31-2017 09-19-2017
CUM Cc SHU LANDSCAPE MAINTENANCE 05-18-2017 05-31-2017
CUM Cc CLN TIME MANAGEMENT 05-01-2017 05-01-2017
CUM Cc CLN STRESS MANAGEMENT 04-17-2017 04-24-2017
CUM c MRSA IN AN ATHLETIC FACILITY 04-02-2017 04-16-2017
BTF GP c SHU WORLD HISTORY 02-16-2017 02-23-2017

 

Archived as of 05-14-2019 Individualized Reentry Plan - Program Review (File Copy) Page 1 of 5
Case 3:19-cv-00415-NJR Document 31 Filed 10/17/19 Page 41 of 66 Page ID #426

 

 

 

 

 

 

 

 

 

 

 

 

Individualized Reentry Plan - Program Review (File copy) SEQUENCE: 00575002
Dept. of Justice / Federal Bureau of Prisons Team Date: 05-09-2019
Plan is for inmate: IGLESIAS, CRISTIAN NOEL 17248-018

[Assignment Description Start
REG DUTY W REGULAR DUTY W/MED RESTRICTION 06-22-2016
YES F/S CLEARED FOR FOOD SERVICE 06-22-2016
Current PTP Assignments
Assignment Description Start
CHG INCOMP CHALLENGE INCOMPLETE 02-14-2013
STA INCOMP STAGES INCOMPLETE 11-02-2015
Current Drug Assignments
[Assignment Description Start
DAP DECL RESIDENT DRUG TRMT DECLINED 02-26-2018
ED COMP DRUG EDUCATION COMPLETE 42-19-2012
FRP Details
[Most Recent Payment Plan |
FRP Assignment: NOOBLG _ FINANC RESP-NO Start: 10-29-2010
Inmate Decision: AGREED $25.00 Frequency: QUARTERLY
Payments past 6 months: $0.00 Obligation Balance: $0.00
Financial Obligations
[No. Type Amount Balance Payable Status
4 ASSMT $300.00 $300.00 IMMEDIATE EXPIRED

** NO ADJUSTMENTS MADE IN LAST 6 MONTHS **
1 ASSMT $100.00 $100.00 IMMEDIATE EXPIRED

; ** NO ADJUSTMENTS MADE IN LAST 6 MONTHS **

2 ASSMT $50.00 $25.00 IMMEDIATE EXPIRED

** NO ADJUSTMENTS MADE IN LAST 6 MONTHS **
3 ASSMT $100.00 $75.00 IMMEDIATE EXPIRED

** NO ADJUSTMENTS MADE IN LAST 6 MONTHS **
Payment Details
Trust Fund Deposits - Past 6 months: $862.57 Payments commensurate? Y
New Payment Plan: “No data **

 

Progress since last review

 

Completed the UNICOR OSHA 10-24 weeks course. Actively participating in the ASQ Quality Assurance, Natural Wonders and the Business Start-Up
course.

 

Next Program Review Goals

 

Complete the ASQ Quality Assurance, Natural Wonders and the Business Start-Up course by 11/19. Meet with Counselor to obtain a certified copy of
birth certificate and SSN card for central file, immediately.

 

Long Term Goals

 

Attend the Career Resource Center. Attending the center will allow you the opportunity to plan for your release and participate in job readiness
activities. Build skill inventory and begin goal setting through the resource center prior to next review 12/19.

 

 

 

RRC/HC Placement

 

Comments

 

407/408 reviewed and current.

Judicial Recommendations: No.

Concerns with transgender status raised. Iglesias has requested a review for sexual reassignment surgery and transfer to a female institution. Her
request has been relayed to management.

 

 

 

 

Archived as of 05-14-2019 Individualized Reentry Plan - Program Review (File Copy) Page 4 of 5
Case 3:19-cv-00415-NJR Document 31 Filed 10/17/19 Page 42 of 66 Page ID #427

 

Individualized Reentry Plan - Program Review (File copy) SEQUENCE: 00575002

 

 

Dept. of Justice / Federal Buroau of Prisons Taam Data: 05-09-2019
Plan is for inmate: IGLESIAS, CRISTIAN NOBL 17246-0168
Name: IGLESIAS, CRISTIAN NOEL DNA Status: FLM02226 / 02-04-2011
Register No.: 17248-018
Age: 44

Date of Birth: 06-10-1974

 

Inmate (IGLESIAS, CRISTIAN NOEL. Register No.: 17248-018)

Schl

Date

 

5-4-4

Date Date

Unit Manag / CRairperson Case Manager Lb
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Individualized Reentry Plan - Program Review (File Copy) Page 5of 5
Case 3:19-cv-00415-NJR Document 31 Filed 10/17/19 Page 43 0f 66 Page ID #428

 

Individualized Reentry Plan - Program Review (File copy) SEQUENCE: 00575002
Dept. of Justice / Federal Bureau of Prisons Team Date: 11-15-2018
Plan is for inmate: IGLESIAS, CRISTIAN NOEL 17248-018
Facility: MAR MARION USP
Name: IGLESIAS, CRISTIAN NOEL
Register No.: 17248-018

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Age: 44 DNA Status: FLM02226 / 02-04-2011
Date of Birth: 06-10-1974 CIMS Status: YES
Proj. Rel. Date: 04-26-2023 CIMS Reconciled: YES
Proj. Rel. Method: GCT REL
Inmate is subject to 18 U.S.C. 4042(B) Notification: Yes
CURRENT CONVICTION FOR A CRIME OF VIOLENCE
Inmate is subject to 18 U.S.C. 4042(C) Notification and Registration: NIA
Offense Sentences
Charge Terms In Effect
18:876 MAILING THREATENING COMMUNICATIONS 46 MONTHS
18:2332A(B) THREATENED USE OF A WEAPON OF MASS 240 MONTHS
DESTRUCTION
Detainers
[Detaining Agency Remarks
NO DETAINER
Current CMA Assignments
|Assignment Description Start
BIR CERT N BIRTH CERTIFICATE - NO 05-24-2018
COMPUTR OK USE OF INMATE ACCESS PC O.K, 11-06-1996
DEPEND N DEPENDENTS UNDER 21 - NO 05-24-2018
PHOTO ID N PHOTO ID - NO 05-24-2018
PSY ALERT PSYCHOLOGY ALERT 06-29-2015
RPP PART RELEASE PREP PGM PARTICIPATES 03-30-2017
SSN CARD N SOCIAL SECURITY CARD - NO 05-24-2018
TRN M2F SELF REPORT TRANSGENDER M TO F 02-02-2017
VET P/S N PARENT/SPOUSE VETERAN - NO 05-24-2018
VETERAN N VETERAN - NO 05-24-2018
v94 CVA913 V94 CURR VIOL ON/AFTER 91394 06-30-2000
WA NO HIST NO WALSH ACT OFFENSE HISTORY 03-23-2007
Current Work Assignments
|Facl Assignment Description Start
MAR CBL QA INDUSTRIES QUALITY ASSURANCE 10-15-2018
Current Education Information
|Facl Assignment Description Start
MAR ESL HAS ENGLISH PROFICIENT 11-14-1996
MAR GED HAS COMPLETED GED OR HS DIPLOMA 07-07-2000
Education Courses
[SubFacl Action Description Start Stop
MARGP CC NUTRITION 11-07-2017 01-05-2018
MARGP CC CDL MANUAL STUDY ACE CLASS 07-31-2017 09-19-2017
CUM Cc SHU LANDSCAPE MAINTENANCE 05-18-2017 05-31-2017
CUM C CLN TIME MANAGEMENT 05-01-2017 05-01-2017
CUM ce CLN STRESS MANAGEMENT 04-17-2017 04-24-2017
CUM Cc MRSA IN AN ATHLETIC FACILITY 04-02-2017 04-16-2017
BTF GP Cc SHU WORLD HISTORY 02-16-2017 02-23-2017
BTF GP Cc SHU PERSONAL FINANCE 02-09-2017 02-16-2017
BUT GP Cc (G)DECISION MAKING-CAI 09-01-2016 11-15-2016
BUT GP c (V)CNDCTNG INTVWS SUCCFL RESLT 09-01-2016 11-15-2016

 

Archived as of 11-16-2018 Individualized Reentry Plan - Program Review (File Copy) Page 1 of 5
Case 3:19-cv-00415-NJR Document 31 Filed 10/17/19 Page 44 0f 66 Page ID #429

 

 
   

iS >j} Dept. of Justice / Federal Bureau of Prisons
ad Plan is for inmate: IGLESIAS, CRISTIAN NOEL 17248-018

Individualized Reentry Plan - Program Review (File copy)

Team Date:

SEQUENCE: 00575002
11-15-2018

 

Current PTP Assignments

 

 

 

 

[Assignment Description Start |
CHG INCOMP CHALLENGE INCOMPLETE 02-14-2013

STA INCOMP STAGES INCOMPLETE 11-02-2015

Current Drug Assignments

[Assignment Description Start

DAP DECL RESIDENT DRUG TRMT DECLINED 02-26-2018

ED COMP DRUG EDUCATION COMPLETE 12-19-2012

FRP Details

 

[Most Recent Payment Plan

FRP Assignment:

NO OBLG_ FINANC RESP-NO

Start: 10-29-2010

 

 

Inmate Decision: AGREED $25.00 Frequency: QUARTERLY

Payments past 6 months: $0.00 Obligation Balance: $0.00

Financial Obligations

[No. Type Amount Balance Payable Status

4 ASSMT $300.00 $300.00 IMMEDIATE EXPIRED
** NO ADJUSTMENTS MADE IN LAST 6 MONTHS **

1 ASSMT $100.00 $100.00 IMMEDIATE EXPIRED
** NO ADJUSTMENTS MADE IN LAST 6 MONTHS **

2 ASSMT $50.00 $25.00 IMMEDIATE EXPIRED
** NO ADJUSTMENTS MADE IN LAST 6 MONTHS **

3 ASSMT $100.00 $75.00 IMMEDIATE EXPIRED

Payment Details

Trust Fund Deposits - Past6 months: $1,022.05
** No data **

New Payment Plan:

*™* NO ADJUSTMENTS MADE IN LAST 6 MONTHS **

Progress since last review

Payments commensurate? Y

 

Assigned to UNICOR. Satisfactory work reports. Completed the Nutrition course.

Next Program Review Goals

 

 

Meet with the Counselor to obtain an application for a certified birth certificate and SSN card. Attend the Tackling the Tough Issues through the
education department prior to 05/19.

 

 

Long Term Goals

 

| Attend the Tackling the Tough Issues through the education department prior to 05/19.

RRC/HC Placement

 

Comments

 

 

407/408 reviewed and current.

Judicial Recommendations: No.
41/15/18 Concerns with transgender status raised. Iglesias has requested a review for sexual reassignment surgery and transfer to a female institution,
Her request has been relayed to management.

 

 

 

Archived as of 11-16-2018

Individualized Reentry Plan - Program Review (File Copy)
Case 3:19-cv-00415-NJR Document 31 Filed 10/17/19 Page 45o0f66 Page ID #430

 

 

Individualized Reentry Plan - Program Review (File copy)

Dept. of Justice / Federal Bureau of Prisons
Plan is for inmate: IGLESIAS, CRISTIAN NOEL 17248-018

SEQUENCE: 00575002
Team Date: 05-24-2018

 

 
    

 

 

Facility: MAR MARION USP
Name: IGLESIAS, CRISTIAN NOEL
| Register No.: 17248-018
Age: 43 DNA Status: FLM02226 / 02-04-2011
3 : Date of Birth: 06-10-1974 CIMS Status:
2 A 2». Proj. Rel. Date: 04-26-2023 CIMS Reconciled:
Lets ==) Proj. Rel. Method: GCT REL
Inmate is subject to 18 U.S.C. 4042(B) Notification: Yes
CURRENT CONVICTION FOR A CRIME OF VIOLENCE
Inmate is subject to 18 U.S.C. 4042(C) Notification and Registration: N/A

Offense Sentences
Charge

Terms In Effect

 

 

 

 

 

 

 

 

 

 

 

18:876 MAILING THREATENING COMMUNICATIONS 46 MONTHS

18:2332A(B) THREATENED USE OF A WEAPON OF MASS 240 MONTHS

DESTRUCTION

Detainers

|Detaining Agency Remarks

NO DETAINER

Current CMA Assignments

[Assignment Description Start

BIR CERT N BIRTH CERTIFICATE - NO 05-24-2018

COMPUTR OK USE OF INMATE ACCESS PC O.K. 11-06-1996

DEPEND N DEPENDENTS UNDER 21 - NO 05-24-2018

PHOTO ID N PHOTO ID - NO 05-24-2018

PSY ALERT PSYCHOLOGY ALERT 06-29-2015

RPP PART RELEASE PREP PGM PARTICIPATES 03-30-2017

SSN CARD N SOCIAL SECURITY CARD - NO 05-24-2018

TRN M2F SELF REPORT TRANSGENDER M TO F 02-02-2017

VET P/S N PARENT/SPOUSE VETERAN - NO 05-24-2018

VETERAN N VETERAN - NO 05-24-2018

V94 CVA913 V94 CURR VIOL ON/AFTER 91394 06-30-2000

WA NO HIST NO WALSH ACT OFFENSE HISTORY 03-23-2007

Current Work Assignments

|Facl Assignment Description Start

MAR CBL 1 INDUSTRIES CABLE 1 11-03-2017

Current Education Information

[Fac Assignment Description Start

MAR ESL HAS ENGLISH PROFICIENT 11-14-1996

MAR GED HAS COMPLETED GED OR HS DIPLOMA 07-07-2000

Education Courses

[SubFacl Action Description Start Stop
MARGP C NUTRITION 41-07-2017 01-05-2018
MARGP C CDL MANUAL STUDY ACE CLASS 07-31-2017 09-19-2017
CUM c SHU LANDSCAPE MAINTENANCE 05-18-2017 05-31-2017
CUM c CLN TIME MANAGEMENT 05-01-2017 05-01-2017
CUM c CLN STRESS MANAGEMENT 04-17-2017 04-24-2017
CUM c MRSA IN AN ATHLETIC FACILITY 04-02-2017 04-16-2017
BTF GP c SHU WORLD HISTORY 02-16-2017 02-23-2017
BTF GP Cc SHU PERSONAL FINANCE 02-09-2017 02-16-2017
BUT GP Cc (G)DECISION MAKING-CAI 09-01-2016 11-15-2016
BUT GP Cc (V)CNDCTNG INTVWS SUCCFL RESLT 09-01-2016 11-15-2016

 

Archived as of 05-24-2018

Individualized Reentry Plan - Program Review (File Copy)

Page 1 of 5
Case 3:19-cv-00415-NJR Document 31 Filed 10/17/19 Page 46 of 66 Page ID #431

 

 

 

 

 

 

 

 

 

 

Individualized Reentry Plan - Program Review (File copy) SEQUENCE: 00575002
Dept. of Justice / Federal Bureau of Prisons Team Date: 05-24-2018
Plan is for inmate: IGLESIAS, CRISTIAN NOEL 17248-018

[Assignment Description Start
CHG INCOMP CHALLENGE INCOMPLETE 02-14-2013
STA INCOMP STAGES INCOMPLETE 11-02-2015
Current Drug Assignments
[Assignment Description Start ‘|
DAP DECL RESIDENT DRUG TRMT DECLINED 02-26-2018
ED COMP DRUG EDUCATION COMPLETE 42-19-2012
FRP Details
[Most Recent Payment Plan |
FRP Assignment: NOOBLG_ FINANC RESP-NO Start: 10-29-2010
Inmate Decision.’ AGREED $25.00 Frequency: QUARTERLY
Payments past 6 months: $0.00 Obligation Balance: $0.00
Financial Obligations
|No. Type Amount Balance Payable Status
4 ASSMT $300.00 $300.00 IMMEDIATE EXPIRED

** NO ADJUSTMENTS MADE IN LAST 6 MONTHS **
1 ASSMT $100.00 $100.00 IMMEDIATE EXPIRED

** NO ADJUSTMENTS MADE IN LAST 6 MONTHS **
2 ASSMT $50.00 $25.00 IMMEDIATE EXPIRED

** NO ADJUSTMENTS MADE IN LAST 6 MONTHS **
3 ASSMT $100.00 $75.00 IMMEDIATE EXPIRED

** NO ADJUSTMENTS MADE IN LAST 6 MONTHS **

Payment Details
Trust Fund Deposits - Past6 months: $846.10 Payments commensurate? Y
New Payment Plan: ** No data ™*

 

Progress since last review

Complete the Nutrition educational course. Assigned to UNICOR.

Next Program Review Goals

 

Begin saving $25.00 a quarter to commence 06/18 for release preparation funds. Continue to save $25.00 every quarter. Submit request in writing to
unit team for consideration for transfer to female institution, immediately (per discussion at team), Pursuing name change. Obtain the paperwork and
begin process. Upon completion you will need to submit a request for a social security card. Request certified copy of original birth certificate,
immediately.

Long Term Goals
| Continue to save $25.00 on 09/18, 12/18 and have a balance of $100.00 by 03/19. Request birth certificate with name change by 12/18

 

 

 

 

RRC/HC Placement

|

Comments

 

407/408 reviewed and current.

Judicial Recommendations: No.

05/24/18 Concems with transgender status raised. Iglesias has requested a review for sexual reassignment surgery and transfer to a female institution.
Her request has been relayed to management.

 

 

 

 

Archived as of 05-24-2018 Individualized Reentry Plan - Program Review (File Copy) Page 4 of 5
Case 3:19-cv-00415-NJR Document 31 Filed 10/17/19 Page 47 of 66 Page ID #432

eX Individualized Reentry Plan - Program Review (File copy) SEQUENCE: 00575002
i = Dept. of Justice / Federal Bureau of Prisons Team Date: 05-24-2018
Plan io for inmate: IGLESIAS, CRISTIAN NOEL 17249-018

DNA Status: FLM02226 / 02-04-2011

 

Name: IGLESIAS, CRISTIAN NOEL
Register No.. 17248-018
Age: 43
Date of Birlh: 06-10-1974

on C1)

Inmate (IGLESIA\ C5 ISTIAN NOEL. Register No.: 17248-018)

Ss-24-/6

Date

Case Manage

Unit Manager / ©hairperson T
5-H Ws Youle

Date Date
Individualized Reentry Plan - Program Review (File Copy) Page Sof 5
Case 3:19-64-00415-NJR Document 31 Filed 10/17/19 Page 48 of 66 Page ID #433
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Case 3:19-cv-00415-NJR Document 31 Filed 10/17/19 Page 49 of 66 Page ID #434

PRIS Page | of 1
MARFM *ADMINISTRATIVE REMEDY GENERALIZED RETRIEVAL * 10-01-2019

PAGE 140 * FULL SCREEN FORMAT * 12743221
REGNO: 17248-018 NAME: IGLESIAS, CRISTIAN

RSP OF...: MAR UNT/LOC/DST: UM NORTH QTR.: X02-228uU RCV OFC: BOP
REMEDY ID: 865340-A1 SUB1: 26ZM SUB2: DATE RCV: 08-10-2016

UNT RCV. .: WF QTR RCV.: wO1-162U FACL RCV: BUT

UNT ORG..: GT QTR ORG.: GO1-022U FACL ORG: BUT

EVT FACL.: BUT ACC LEV: BUT 1 MXR 1 BOP 1 RESP DUE: SUN 10-09-2016
ABSTRACT.: REQUESTS SEXUAL REASSIGNMENT SURGERY

STATUS DT: Q9-12-2016 STATUS CODE: CLD STATUS REASON: DNY

INCRPTNO. : RCT: P EXT: D DATE ENTD: 08-17-2016

REMARKS..:!

G0002 MORE PAGES TO FOLLOW .

httns://bop.tev.doi.zov:9049/SENTR Y/I1IPRGRO do IN/1/9N10
Case 3:19-cv-00415-NJR Document 31 Filed 10/17/19 Page 50 o0f 66 Page ID #435

PRI5 Page 1 of |
MARFM *ADMINISTRATIVE REMEDY GENERALIZED RETRIEVAL * 10-01-2019
PAGE 179 * FULL SCREEN FORMAT * 12:43:21

REGNO: 17248-018 NAME: IGLESIAS, CRISTIAN

RSP OF...: MAR UNT/LOC/DST: UM NORTH QTR.: X02-228U = RCV OFC: BOP
REMEDY ID: 920251-Al1 SUB1: 26TM SUB2: DATE RCV: 01-18-2018

UNT RCV..:UM NORTH QTR RCV.: X02-219U FACL RCV: MAR

UNT ORG..:UM NORTH QTR ORG.: X02-219U FACL ORG: MAR

EVT FACL.: MAR ACC LEV: MAR 1 NCR 1 BOP 1 RESP DUE: MON 03-19-2018
ABSTRACT.: REASSIGNMENT SURGERY
STATUS DT: 03-02-2018 STATUS CODE: CLO STATUS REASON: XPL

INCRPTNO., : RCT: P EXT: P DATE ENTD: 02-05-2018
REMARKS... :
G0002 MORE PAGES TO FOLLOW .

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Case 3:19-cv-00415-NJR Document 31 Filed 10/17/19 Page 51o0f66 Page ID #436

PRIS : Page 1 of |
MARFM *ADMINISTRATIVE REMEDY GENERALIZED RETRIEVAL * 10-02-2019
PAGE 191 * FULL SCREEN FORMAT # 09:03:52

REGNO: 17248-018 NAME: IGLESIAS, CRISTIAN

RSP OF...: MAR UNT/LOC/DST: UM NORTH QTR.: X02-228U RCV OFC: BOP
REMEDY ID: 945168-A3 SUB1: 26TM SUB2: 32ZM DATE RCV: 11-20-2018

UNT RCV..:UM NORTH QTR RCV.: X02-229U FACL RCV: MAR

UNT ORG..:UM NORTH QTR ORG.: X02-219U FACL ORG: MAR

EVT FACL.: MAR ACC LEV: MAR 1 NCR 1 BOP 3 RESP DUE: SAT 01-19-2019
ABSTRACT.: REQ MALE TO FEMALE REFLECT ON ALL DOCUMENTS
STATUS DT: 02-05-2019 STATUS CODE: CLD STATUS REASON: DNY

INCRPTNO. : RCT: P EXT: P DATE ENTD: 11-30-2018
REMARKS..:!
G0002 MORE PAGES TO FOLLOW .

https://bon.tcp.doi.gov:9049/SENTRY/JI PRGRO.do 10/2/2019
Case 3:19-cv-00415-NJR Document 31 Filed 10/17/19 Page 52 o0f66 Page ID #437

PRIS Page 1 of 1
MARFM *ADMINISTRATIVE REMEDY GENERALIZED RETRIEVAL * 10-02-2019

PAGE 180 * FULL SCREEN FORMAT * 09:03:52
REGNO: 17248-018 NAME: IGLESIAS, CRISTIAN

RSP OF...: MAR UNT/LOC/DST: UM NORTH QTR.: X02-228U RCV OFC: BOP
REMEDY ID: 923754-AL SUB1: 26TM SUB2: 26BM DATE RCV: 03-14-2018

UNT RCV..:UM NORTH QTR RCV.: Xx02-219U FACL RCV: MAR

UNT ORG..:UM NORTH QTR ORG.: X02-219U FACL ORG: MAR

EVT FACL.: MAR ACC LEV: MAR 1 NCR 1 BOP 1 RESP DUE: SUN 05-13-2018
ABSTRACT. : MEDICAL TREATMENT

STATUS DT: 04-06-2018 STATUS CODE: CLD STATUS REASON: DNY

INCRPTNO. : RCT: P EXT: P DATE ENTD: 03-26-2018

REMARKS.,:

G0002 MORE PAGES TO FOLLOW .

httns://bop.tcp.doi.zov:9049/SENTR Y/J1 PRGRO.do 10/9/9190
Case 3:19-cv-00415-NJR Document 31 Filed 10/17/19 Page 53 0f 66 Page ID #438

PRIS Page | of 1
MARFM *ADMINISTRATIVE REMEDY GENERALIZED RETRIEVAL * 10-01-2019

PAGE 139 * FULL SCREEN FORMAT * I2 43971
REGNO: 17248-018 NAME: IGLESIAS, CRISTIAN

RSP OF..,: MAR UNT/LOC/DST: UM NORTH QTR.: X02-228U RCV OFC: BOP
REMEDY ID: 865332-Al SUB1: 10ZS SUB2: 26TS DATE RCV: 08-10-2016

UNT RCV..: WE QTR RCV.: wO1-162U FACL RCV: BUT

UNT ORG..:GT QTR ORG.: GO1-022U FACL ORG: BUT

EVT FACL.: BUT ACC LEV: BUT 1 MXR 1 BOP 1 RESP DUE: SUN 10-09-2016
ABSTRACT.: TRANSFER TO FEMALE INST.;MALE TO FEMALE TRANSGENDER

STATUS DT: 02-28-2017 STATUS CODE: CLD STATUS REASON: DNY

INCRPTNO. : RCT: N EXT: N DATE ENTD: 08-16-2016

REMARKS... :

G0002 MORE PAGES TO FOLLOW. ,

https://bop.tep.doj.gov:9049/SENTRY/JIPRGRO.do 10/1/9010
Case 3:19-cv-00415-NJR Document 31 Filed 10/17/19 Page 54 o0f66 Page ID #439

PRI5 Page 1 of |
MARFM “ADMINISTRATIVE REMEDY GENERALIZED RETRIEVAL * 10-01-2019
PAGE 150 * FULL SCREEN FORMAT = 12:43:21

REGNO: 17248-018 NAME: IGLESIAS, CRISTIAN

RSP OF...: MAR UNT/LOC/DST: UM NORTH QTR.: X02-228U RCV OFC: BOP
REMEDY ID: 876082-A1 SUB1: 10ZS SUB2: 26TS DATE RCV: 12-19-2016

UNT RCV..: WE QTR RCV.: X04-O05L _ FACL RCV: BUT

UNT ORG..: WF QTR ORG.: w01-162u FACL ORG: BUT

EVT FACL.: BUT ACC LEV: BUT 1 MXR 1 BOP 1 RESP DUE: FRI 02-17-2017
ABSTRACT.: TRANSFER TO FEMALE INST.;MALE TO FEMALE TRANSGENDER
STATUS DT: 02-28-2017 STATUS CODE: CLO STATUS REASON: REP

INCRPTNO. : RCT: P EXT: P DATE ENTD: 01-25-2017
REMARKS..:
G0002 MORE PAGES TO FOLLOW .

https://bop.tcp.doj.gov:9049/SENTRY/JIPRGRO.do 1N/1/9019
Case 3:19-cv-00415-NJR Document 31 Filed 10/17/19 Page 55 of66 Page ID #440

PRI15 Page | of 1
MARFM *ADMINISTRATIVE REMEDY GENERALIZED RETRIEVAL * 10-01-2019
PAGE 154 om FULL SCREEN FORMAT * 12:43:21

REGNO: 17248-018 NAME: IGLESIAS, CRISTIAN

RSP OF...: MAR UNT/LOC/DST: UM NORTH QTR.: X02-228uU RCV OFC: BOP
REMEDY ID: 880455-AlL SUB1: 26TM SUB2: LOZM DATE RCV: 03-06-2017

UNT RCV,..:0 UNIT QTR RCV.: ZQ3-147LAD FACL RCV: BTF

UNT ORG..: WF QTR ORG.: WO1-162U FACL ORG: BUT

EVT FACL.: BUT ACC LEV: BUT 1 MXR 1 RESP DUE:

ABSTRACT.: TXF TO FEMALE PRISON;CHANGED FROM M TO FM IN SENTRY
STATUS DT: 03-30-2017 STATUS CODE: REJ STATUS REASON: LEG UTA MEM OTH
INCRPTNO, ; RCT: EXT: DATE ENTD: 03-30-2017
REMARKS..:; YOUR REGIONAL RESPONSE IS DATED 1-3-17, YOUR BP-11
ARRIVED IN THE CENTRAL OFFICE ON 3-6-17, 62 DAYS
LATER.

G0002 MORE PAGES TO FOLLOW .

https://bop.tcp.doj.gov:9049/SENTRY/J1PRGRO.do 10/1/9019
Case 3:19-cv-00415-NJR Document 31 Filed 10/17/19 Page 56 of 66 Page ID #441

PRIS Page | of 1
MARFM *ADMINISTRATIVE REMEDY GENERALIZED RETRIEVAL * 10-01-2019

PAGE 166 * FULL SCREEN FORMAT # 12:43:21

REGNO: 17248-018 NAME: IGLESIAS, CRISTIAN

RSP OF...: MAR UNT/LOC/DST: UM NORTH QTR.: X02-228uU RCV OFC: BOP

REMEDY ID: 897368-Al1 SUB1: 10ZM SUB2: 26TM DATE RCV: 05-31-2017

UNT RCV..: HOLDOVER QTR RCV.: E02-617L FACL RCV: OKL

UNT ORG..: UNIT C QTR ORG.: CO1-128L FACL ORG: CUM

EVT FACL.: CUM ACC LEV: CUM 1 MXR 1 BOP 1 RESP DUE: SUN 07-30-2017

ABSTRACT.: TRANSGENDER INMATE / TRANSFER TO FEMALE INSTITUTION

STATUS DT: 07-06-2017 STATUS CODE: CLD STATUS REASON: DNY

INCRPTNO, : RCT: P EXT: P DATE ENTD: 06-14-2017

REMARKS..:

G0002 MORE PAGES TO FOLLOW .

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Case 3:19-cv-00415-NJR Document 31 Filed 10/17/19 Page 57 of 66 Page ID #442

PRIS Page | of |
MARFM *ADMINISTRATIVE REMEDY GENERALIZED RETRIEVAL * 10-01-2019
PAGE 176 * FULL SCREEN FORMAT * 12:43:21

REGNO: 17248-0118 NAME: IGLESIAS, CRISTIAN

RSP OF...: MAR UNT/LOC/DST: UM NORTH QTR.: X02-228uU RCV OFC: BOP
REMEDY ID: 914685-A1 SUB1: 10ZM SUB2: DATE RCV: 12-07-2017

UNT RCV..:UM NORTH QTR RCV.: X02-219uU FACL RCV: MAR

UNT ORG..:UM NORTH QTR ORG.: X02-234L FACL ORG: MAR

EVT FACL.: MAR ACC LEV: MAR 1 NCR 1 BOP 1 RESP DUE: MON 02-05-2018
ABSTRACT.: REQUESTING TO BE TRANSFERRED TO ANOTHER INSTITUTION
STATUS DT: 01-18-2018 STATUS CODE: CLO STATUS REASON: XPL

INCRPTNO. : RCT: P EXT: P DATE ENTD: 01-03-2018
REMARKS..:
60002 MORE PAGES TO FOLLOW ,

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Case 3:19-cv-00415-NJR Document 31 Filed 10/17/19 Page 59 of 66 Page ID #444

Bureau of Prisons *SENSITIVE BUT UNCLASSIFIED**

Psychology Services
Clinical Intervention - Clinical Contact

 

Inmate Name: IGLESIAS, CRISTIAN NOEL Reg #: 17248-018
Date of Birth: 06/10/1974 Sex: M Facility: MAR Unit Team: UM NORTH
Date: 07/03/2019 10:10 Provider: Owings, Lindsay PhD/SOMP

 

Focus of Session
Inmate IGLESIAS presented on time to her scheduled callout.
Subjective/Objective Presentation

She stated her mood was alright and her affect was consistent with the topics discussed. Her speech was normal with
regard to rate, tone, and volume. No evidence of delusional thought processes or perceptual disturbances were noted
throughout the interaction. Her memory appeared to be intact. She denied suicidal ideation, intent or plan. She
continued to acknowledge passive thoughts of self-harm specific to her genitalia and her distress associated with that
appendage.

Intervention(s)
Inmate IGLESIAS completed the Trauma and Life workbook and the materials were discussed. She acknowledged she
had a difficult time completing it as it brought back a lot of memories but noted she was excited to move forward to
seeking safety.

Progress/Plan
Inmate IGLESIAS will continue to be met with individually for care2-mh contacts to assess mental status and provide
clinical intervention. She will also be met with for individual seeking safety (notes will be entered in a group as seeking
safety is a priority practice approved group but will be offered individually as the empirically supported manual supports
the use of the material in that manner).

Completed by Owings, Lindsay PhD/SOMP Coord on 07/12/2019 07:47

Generated 07/12/2019 07:47 by Owings, Lindsay PhD/SOMP Bureau of Prisons - MAR Page 1 of 1
Case 3:19-cv-00415-NJR Document 31 Filed 10/17/19 Page 60 of 66 Page ID #445

Bureau of Prisons **SENSITIVE BUT UNCLASSIFIED

Psychology Services
Consultation - CO-Psychiatry/Psychology

 

 

Inmate Name: IGLESIAS, CRISTIAN NOEL Reg #: 17248-018
Date of Birth: 06/10/1974 . Sex: M Facility: FAI Unit Team: DR
Date: 01/04/2016 15:16 Provider: Smith, Julie Psy.D./Chief

Comments

 

Have reached out to Central Office Staff for guidance regarding this inmate's concern regarding need to live/express self
as female (as fully as possible) prior to pursuing reassignment surgery.

Completed by Smith, Julie Psy.D./Chief Psychologist on 01/05/2016 10:55

Generated 01/05/2016 10:55 by Smith, Julie Psy.D./Chief Bureau of Prisons - FAI Page 1 of 1
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Case 3:19-cv-00415-NJR Document 31 Filed 10/17/19 Page 62 of 66 Page ID #447

TRULINCS 17248018 - IGLESIAS, CRISTIAN NOEL - Unit: BUT-W-A

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FROM: 17248018
TO: BUT/AWO
SUBJECT: ***Request to Staff*** IGLESIAS, CRISTIAN, Reg# 17248018, BUT-W-A

DATE: 08/15/2016 11:48:36 AM

To: AW-Maat
Inmate Work Assignment: WK-ICP

| have been trying to get these recommendations from Medical. To no avail, can you please ensure that Medical responds to
my request to find out what i need to do to get my Sexual reassignment surgery from Central Office. Thank you.
-—-~-IGLESIAS, CRISTIAN NOEL on 8/2/2016 3:52 PM wrote:

>

| am writing this to get some clarification from you, i received my Administrative Remedy from the Mid-Atlantic [BP-10]today
8/2/16 in regards to my Request for the sexual reassignment surgery, in the response ,it stated that Central Office had made
recommendations in order for them to consider me for the surgery and that i should get with my local health care team to get
these reccomendations?! am asking you to please let me know what were the reccomendations and what steps are needed to

continue the process? Please let me know. Thank you very much,

_ CC-File/Printed 08/02/16
Cristian Iglesias #17248-018
Case 3:19-cv-00415-NJR Document 31 Filed 10/17/19 Page 63 of 66 Page ID #448

TRULINCS 17248018 - IGLESIAS, CRISTIAN NOEL - Unit: MAR-X-A

FROM: 17248018
TO: Health Services
SUBJECT: *™Request to Staff*** IGLESIAS, CRISTIAN, Reg# 17248018, MAR-X-A
DATE: 11/02/2017 08:02:22 AM

To: Dr.Pass/Clinical Director- Request-1 1/2/17
inmate Work Assignment: AM Corridor

| am Officially Requesting to receive Approval for laser hair removal on my face, as this was done for other transgender females
in the BOP. | am transsexual/transgender female with a current diagnoses of Gender Dsyphoria,having facial hair on my face
causes me great stress, depression,saddness. This is not a cosmetic procedure for me as a woman transitioning and wanting
the sexual reassignment surgery to a female this is medically necassary.Please Approve me to get this procedure.

CC-File/C.N.1-#17248-018
“Printed-1 1/2/17-Copies sent to the following -
llona Tumer/Jennifer Ken/Lauren Dow/Chase Strangio-Attorney's At Law
Case 3:19-cv-00415-NJR Document 31 Filed 10/17/19 Page 64 o0f66 Page ID #449

TRULINCS 17248018 - IGLESIAS, CRISTIAN NOEL - Unit: BUT-W-A

FROM: 17248018

TO: BUT/AWO

SUBJECT: ***Request to Staff*** IGLESIAS, CRISTIAN, Reg# 17248018, BUT-W-A
DATE: 08/15/2016 11:48:36 AM

To: AW-Maat
Inmate Work Assignment: WK-ICP

| have been trying to get these recommendations from Medical. To no avail, can you please ensure that Medical responds to
my request to find out what i need to do to get my Sexual reassignment surgery from Central Office. Thank you.
-—-IGLESIAS, CRISTIAN NOEL on 8/2/2016 3:52 PM wrote:

>

| am writing this to get some clarification from you, i received my Administrative Remedy from the Mid-Atlantic [BP-10]today
8/2/16 in regards to my Request for the sexual reassignment surgery, in the response ,it stated that Central Office had made
recommendations in order for them to consider me for the surgery and that i should get with my local health care team to get
these reccomendations?I am asking you to please let me know what were the reccomendations and what steps are needed to
continue the process? Please let me know. Thank you very much.

CC-File/Printed 08/02/16
Cristian Iglesias #17248-018
 
 
 

 
 
 

 
 
 

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